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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

KAPPA ALPHA THETA FRATERNITY,

INC.; KAPPA KAPPA GAMMA

FRATERNITY; SIGMA CHI; SIGMA

ALPHA EPSILON; SIGMA ALPHA

EPSILON—MASSACHUSETTS

GAMMA; JOHN DOE 1; JOHN DOE 2;

JOHN DOE 3, : Civil Action No. 18-cv-12485

Plaintiffs,
Vv.
HARVARD UNIVERSITY; PRESIDENT
AND FELLOWS OF HARVARD :
COLLEGE (HARVARD CORPORATION), :

Defendants.

 

STIPULATED ORDER REGARDING
ANONYMITY FOR THE JOHN DOES

Pursuant to Federal Rule of Civil Procedure 5.2(e), Local Rule 83.6.11, and the Parties’
Stipulated Protective Order (Dkt. 51), for good cause shown, and subject specifically to the
provisions of Local Rule 7, Plaintiffs’ unopposed motion to permit John Doe 1 and John Doe 2 to
proceed using pseudonyms is GRANTED.

Pursuant to this Order and the Parties’ Stipulated Protective Order:

1. Defendants and third parties SHALL NOT have access to John Doe 1 and John
Doe 2’s identities other than as set forth in the Parties’ Stipulated Protective Order (Dkt. 51).

2. Any nonparty who is informed of John Doe 1 and John Doe 2’s identity SHALL

be provided a copy of this Order and the Stipulated Protective Order by the disclosing party.
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3. If any party files a document in the public record that names or contains other
personal information from which a person could identify John Doe 1 or John Doe 2 as such, the
filing party SHALL redact such personal identifiers consistent with this Order.

4, This Order shall remain in effect throughout the pendency of this action, unless and

until it is amended by this Court sua sponte or the motion of any party.

BY THE COURT

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Nathaniel M. Gorton, 6S.D.J.
Date: April 2 7, 2020
